   Case 21-03003-sgj Doc 87 Filed 09/09/21                       Entered 09/09/21 23:19:51                Page 1 of 11




The following constitutes the ruling of the court and has the force and effect therein described.




Signed September 6, 2021
______________________________________________________________________




                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

     In re:                             §                                                Case No. 19-34054-SGJ-11
                                        §
     HIGHLAND CAPITAL MANAGEMENT, L.P., §                                                Chapter 11
                                        §
         Reorganized Debtor.            §
                                        §
     HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                        §
         Plaintiff,                     §
                                        §
     v.                                 §
                                        §                                               Adversary No.: 21-03003-sgj
     JAMES D. DONDERO,                  §
                                        §
         Defendant.                     §

                     ORDER APPROVING STIPULATION GOVERNING DISCOVERY
                                AND OTHER PRE-TRIAL ISSUES

                Upon consideration of the Stipulation and Agreed Order Governing Discovery and Other

     Pre-Trial Issues [Docket No. 78] (the “Stipulation”) 1 entered into between Highland Capital




     1
         Capitalized terms not otherwise defined in this Order shall have the meaning ascribed to them in the Stipulation.
                                                               -1-
     CORE/3522697.0002/168335975
     DOCS_NY:43949.2 36027/002
Case 21-03003-sgj Doc 87 Filed 09/09/21                    Entered 09/09/21 23:19:51               Page 2 of 11



  Management, L.P., the reorganized debtor 2 (“Highland”) in the above-captioned chapter 11 case

  (“Bankruptcy Case”) and the plaintiff in the above-captioned adversary proceeding (the

  “Adversary Proceeding”), and James Dondero (“Dondero”, and together with Highland, the

  “Parties”), it is HEREBY ORDERED THAT:

           1.       The Stipulation, a copy of which is attached hereto as Exhibit A, is APPROVED.

           2.       The Stipulation supersedes any prior stipulation or scheduling order governing the

  Adversary Proceeding.

           3.       The Parties shall abide by the following pretrial schedule (the “Joint Pretrial

  Schedule”) pursuant to the Stipulation:

           x        Dondero will have until August 30, 2021 to answer or otherwise respond to the
                    First Amended Complaint.

           x        The Parties will serve written discovery demands (limited to new claims and
                    allegations in the First Amended Complaint) by September 3, 2021.

           x        The Parties will respond to discovery requests by September 27, 2021 and will
                    also be substantially complete with document production by September 27, 2021.

           x        Fact depositions will take place between October 1 and October 22, 2021.

           x        Expert designations and disclosures of all opinions, and the bases therefor, will be
                    made by October 29, 2021, and experts will be deposed between October 29,
                    2021 and November 8, 2021.

           4.       Discovery taken in this case is hereby consolidated with discovery taken in the

  following adversary proceedings, and all discovery in each of the adversary proceedings will be

  treated as if it was taken in all of the adversary proceedings listed below so that each witness will



  2
    On February 22, 2021, the Bankruptcy Court entered the Order (i) Confirming the Fifth Amended Plan of
  Reorganization (as Modified) and (ii) Granting Related Relief [Docket No. 1943] (the “Confirmation Order”) which
  confirmed the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P., as modified (the
  “Plan”). The Plan went Effective (as defined in the Plan) on August 11, 2021, and Highland is the Reorganized Debtor
  (as defined in the Plan) since the Effective Date. See Notice of Occurrence of Effective Date of Confirmed Fifth
  Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket No. 2700].


                                                         -2-
  CORE/3522697.0002/168335975
  DOCS_NY:43949.2 36027/002
Case 21-03003-sgj Doc 87 Filed 09/09/21               Entered 09/09/21 23:19:51         Page 3 of 11



  only need to be deposed once and documents produced in any of the proceedings are usable as if

  received in every other proceeding:

           x        Highland Capital Management, L.P. v. Highland Capital Management Fund
                    Advisors, L.P., Adv. Pro. No. 21-03004;

           x        Highland Capital Management, L.P. v. NexPoint Advisors, L.P., Adv. Pro. No.
                    21-03005;

           x        Highland Capital Management, L.P. v. Highland Capital Management Services,
                    Inc., Adv. Pro. No. 21-03006; and

           x        Highland Capital Management, L.P. v. HCRE Partners, LLC (n/k/a NexPoint
                    Real Estate Partners, LLC), Adv. Pro. No. 21-03007.

           5.       The Joint Pretrial Schedule set forth in this Order shall only be modified in writing

  signed by the Parties or upon entry of an order of the Court entered upon notice to the Parties.

           6.       The Court shall retain jurisdiction over all disputes arising out of or otherwise

  governing the interpretation and enforcement of this Order.

                                            ###End of Order###




                                                    -3-
  CORE/3522697.0002/168335975
  DOCS_NY:43949.2 36027/002
Case 21-03003-sgj Doc 87 Filed 09/09/21   Entered 09/09/21 23:19:51   Page 4 of 11




                                EXHIBIT $
Case 21-03003-sgj Doc 87 Filed 09/09/21            Entered 09/09/21 23:19:51     Page 5 of 11



  Deborah Deitsch-Perez
  Michael P. Aigen
  STINSON LLP
  3102 Oak Lawn Avenue, Suite 777
  Dallas, Texas 75219-4259
  Telephone: (214) 560-2201
  Facsimile: (214) 560-2203
  Counsel for Defendant James Dondero
  and Nancy Dondero

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

  In re:                             §                              Case No. 19-34054-SGJ-11
                                     §
  HIGHLAND CAPITAL MANAGEMENT, L.P., §                              Chapter 11
                                     §
      Debtor.                        §
                                     §
  HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                     §
      Plaintiff.                     §
                                     §
  v.                                 §
                                     §                              Adversary No.: 21-03003
  JAMES D. DONDERO,                  §
                                     §
      Defendant.                     §

              STIPULATION AND AGREED ORDER GOVERNING DISCOVERY
                          AND OTHER PRE-TRIAL ISSUES

           This stipulation and agreed order (the “Stipulation”) is entered into between Highland

  Capital Management, L.P. (the “Debtor”) and James Dondero (“Dondero”). The Debtor and

  Dondero are collectively referred to herein as the “Parties.”

                                             RECITALS

           WHEREAS, on April 15, 2021, Dondero filed a Motion to Withdraw the Reference.

           WHEREAS, on July 7, 2021, the Bankruptcy Court filed its Report and Recommendation

  to District Court Proposing that it (A) Grant Defendant's Motion to Withdraw the Reference at


                                                 -1-
  CORE/3522697.0002/168335975
Case 21-03003-sgj Doc 87 Filed 09/09/21              Entered 09/09/21 23:19:51        Page 6 of 11



  Such Time as Bankruptcy Court Certifies that Action is Trial Ready; and (B) Defer Pretrial

  Matters to Bankruptcy Court [Docket No. 67] (the "Report").

           WHEREAS, the Debtor has indicated that it intends to file a First Amended Complaint,

  asserting additional claims against Dondero, as well as claims against new defendants, Nancy

  Dondero and The Dugaboy Investment Trust.

           WHEREAS, the Parties intend to complete fact and expert discovery in this adversary

  proceeding as governed by this Stipulation.

                                             STIPULATION

           NOW, THEREFORE, IN CONSIDERATION OF THE FOREGOING, THE

  PARTIES HEREBY AGREE AND STIPULATE AS FOLLOWS:

           1.        This Stipulation supersedes any prior stipulation or scheduling order governing

  the above-referenced adversary proceeding.

           2.        The Parties agree to the following deadlines regarding discovery and other pre-

  trial deadlines:

           x         The Parties agree that the Debtor will file and Dondero will not oppose a Motion
                     for Leave to File First Amended Complaint by August 17, 2021, a copy of which
                     has previously been provided by the Debtor to Dondero. Counsel for Dondero
                     will accept service of the First Amended Complaint on behalf of Dondero and the
                     additional defendants named in the First Amended Complaint.

           x         Dondero will have until August 30, 2021, to answer or otherwise respond to the
                     First Amended Complaint.

           x         The Parties will serve written discovery demands (limited to new claims and
                     allegations in the First Amended Complaint) by September 3, 2021.

           x         The Parties will respond to discovery requests by September 27, 2021 and will
                     also be substantially complete with document production by September 27, 2021.

           x         Fact depositions will take place between October 1 and October 22, 2021.




                                                    -2-
  CORE/3522697.0002/168335975
Case 21-03003-sgj Doc 87 Filed 09/09/21              Entered 09/09/21 23:19:51          Page 7 of 11



           x        Expert designations and disclosures of all opinions and the bases therefor, will be
                    made by October 29, 2021, and experts will be deposed between October 29,
                    2021 and November 8, 2021.

           3.       The Parties agree that discovery taken in this case will be consolidated with

  discovery taken in the following adversary proceedings and all discovery in each of the

  adversary proceedings will be treated as if it was taken in all of the adversary proceedings listed

  below, so that each witness will only need to be deposed once and documents produced in any of

  the proceedings are usable as if received in every other proceeding:

           x        Highland Capital Management, L.P. v. Highland Capital Management Fund
                    Advisors, L.P., Adv. Pro. No. 21-03004;

           x        Highland Capital Management, L.P. v. NexPoint Advisors, L.P., Adv. Pro. No.
                    21-03005;

           x        Highland Capital Management, L.P. v. Highland Capital Management Services,
                    Inc., Adv. Pro. No. 21-03006; and

           x        Highland Capital Management, L.P. v. HCRE Partners, LLC (n/k/a NexPoint
                    Real Estate Partners, LLC), Adv. Pro. No. 21-03007.

           IT IS SO STIPULATED.

  Dated: August 17, 2021




                                                    -3-
  CORE/3522697.0002/168335975
Case 21-03003-sgj Doc 87 Filed 09/09/21      Entered 09/09/21 23:19:51   Page 8 of 11



  CONSENTED AND AGREED TO BY:


  /s/ Michael P. Aigen                      /s/ John A. Morris
  Deborah Deitsch-Perez                     John A. Morris
  Texas State Bar No. 24036072              NY Bar No. 266326
  Michael P. Aigen                          (pro hac vice)
  Texas State Bar No. 24012196              PACHULSKI STANG ZIEHL & JONES LLP
  STINSON LLP                               10100 Santa Monica Blvd., 13th Floor
  3102 Oak Lawn Avenue, Suite 777           Los Angeles, CA 90067
  Dallas, Texas 75219-4259                  Telephone: (310) 277-6910
  Telephone: (214) 560-2201                 Email: jmorris@pszjlaw.com
  Email: deborah.deitschperez@stinson.com
  Email: michael.aigen@stinson.com          ATTORNEYS FOR DEBTOR
                                            HIGHLAND CAPITAL MANAGEMENT,
  ATTORNEYS FOR DEFENDANT                   L.P.
  JAMES DONDERO AND NANCY
  DONDERO


  /s/ Douglas S. Draper
  Douglas S. Draper
  LA Bar No. 5073
  (pro hac vice)
  HELLER, DRAPER & HORN, L.L.C.
  650 Poydras Street, Suite 2500
  New Orleans, LA 70130
  Telephone: (504) 299-3300
  Email: ddraper@hellerdraper.com

  ATTORNEYS FOR THE DUGABOY
  INVESTMENT TRUST




                                            -4-
  CORE/3522697.0002/168335975
Case 21-03003-sgj Doc 87 Filed 09/09/21         Entered 09/09/21 23:19:51        Page 9 of 11



                                 CERTIFICATE OF SERVICE

         I certify that on August 17, 2021, a true and correct copy of the foregoing document was
  served via the Court’s Electronic Case Filing system to the parties that are registered or
  otherwise entitled to receive electronic notices in this case.

                                                      /s/ Michael P. Aigen
                                                       Michael P. Aigen




                                               -5-
  CORE/3522697.0002/168335975
           Case 21-03003-sgj Doc 87 Filed 09/09/21                                 Entered 09/09/21 23:19:51                        Page 10 of 11
                                                              United States Bankruptcy Court
                                                                Northern District of Texas
Highland Capital Management, L.P.,
      Plaintiff                                                                                                        Adv. Proc. No. 21-03003-sgj
Dondero,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: mmathews                                                              Page 1 of 2
Date Rcvd: Sep 07, 2021                                               Form ID: pdf001                                                            Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 09, 2021:
Recip ID                 Recipient Name and Address
ust                    + Cheryl Wilcoxson, US Trustee, 1100 Commerce St., Ste. 976, Dallas, TX 75242-0996

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.ty.ecf@usdoj.gov
                                                                                        Sep 07 2021 22:58:00      US Trustee, Office of the U.S. Trustee, 110 N.
                                                                                                                  College Ave., Suite 300, Tyler, TX 75702-7231
ust                    + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                                        Sep 07 2021 22:58:00      US Trustee, Office of the US Trustee, 515 Rusk
                                                                                                                  Ave, Ste 3516, Houston, TX 77002-2604
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Sep 07 2021 22:58:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Sandra Nixon, U.S. Trustee
ust                            mario zavala
ust              *+            US Trustee, Office of the U.S. Trustee, 110 N. College Ave., Suite 300, Tyler, TX 75702-7231

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 09, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
          Case 21-03003-sgj Doc 87 Filed 09/09/21                             Entered 09/09/21 23:19:51                    Page 11 of 11
District/off: 0539-3                                              User: mmathews                                                         Page 2 of 2
Date Rcvd: Sep 07, 2021                                           Form ID: pdf001                                                       Total Noticed: 4
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 7, 2021 at the address(es) listed
below:
Name                             Email Address
Bryan C. Assink
                                 on behalf of Defendant James Dondero bryan.assink@bondsellis.com

Clay M. Taylor
                                 on behalf of Defendant James Dondero clay.taylor@bondsellis.com krista.hillman@bondsellis.com

Deborah Rose Deitsch-Perez
                                 on behalf of Defendant Nancy Dondero deborah.deitschperez@stinson.com
                                 patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                                 on behalf of Defendant James Dondero deborah.deitschperez@stinson.com
                                 patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Douglas S. Draper
                                 on behalf of Defendant The Dugaboy Investment Trust ddraper@hellerdraper.com
                                 dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Greta M. Brouphy
                                 on behalf of Defendant The Dugaboy Investment Trust gbrouphy@hellerdraper.com
                                 dhepting@hellerdraper.com;vgamble@hellerdraper.com

Juliana Hoffman
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors jhoffman@sidley.com
                                 txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Leslie A. Collins
                                 on behalf of Defendant The Dugaboy Investment Trust lcollins@hellerdraper.com

Matthew A. Clemente
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors mclemente@sidley.com
                                 matthew-clemente-8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwom
                                 ey@sidley.com

Melissa S. Hayward
                                 on behalf of Plaintiff Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Michael P. Aigen
                                 on behalf of Defendant James Dondero michael.aigen@stinson.com stephanie.gratt@stinson.com

Paige Holden Montgomery
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors pmontgomery@sidley.com
                                 txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                                 ce@sidley.com

Zachery Z. Annable
                                 on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 13
